     Case: 1:20-cv-02550 Document #: 71 Filed: 02/18/21 Page 1 of 1 PageID #:984

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Vera Bradley Designs
                              Plaintiff,
v.                                               Case No.: 1:20−cv−02550
                                                 Honorable Sharon Johnson Coleman
Aixin Li, et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 18, 2021:


         MINUTE entry before the Honorable Jeffrey Cole: Telephone status conference
held on 2/17/21. Counsel for the defendants did not appear, although he contacted my
courtroom deputy saying that his access code was not accepted and that is why he did not
appear on the phone conference today. Each side presently has motions pending and a
decision in those motions is forthcoming. In light of the present status it is clear that
compliance with the present discovery schedule will not be possible. Accordingly, fact
discovery is extended for 60 days after the forthcoming opinions are issued. The next
telephone status conference set for 3/18/21 at 9:00am. Counsel should call (888)
684−8852, access code 5618926.#. Members of the public and media will be able to call
in to listen to this hearing. Persons granted remote access to proceedings are reminded of
the general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice (yt)




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